       Case 1:23-cr-00490-SHS          Document 336           Filed 04/18/24             Page 1 of 2


                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278

                                                      April 18, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et al.,
               S4 23 Cr. 490 (SHS)

Dear Judge Stein:

         The Government respectfully writes in the above-captioned matter to advise the Court that
counsel for defendants Robert Menendez, Fred Daibes, and Wael Hana have now executed a
stipulation regarding the testimony of Lawrence S. Lustberg, Esq. In light of this development,
and on the assumption that the defendants waive their ability to call Mr. Lustberg as a witness at
trial, the Government does not presently intend to file a motion to disqualify Mr. Lustberg or his
firm.

        Consistent with the Court’s statements at yesterday’s conference, the Government requests
that the Court promptly hold an in-person conference at which Menendez, Daibes, and Hana are
each asked to “indicate that they agree to the stip, they understand it, they’ve talked with their
lawyers, they agree to waive the right to call Mr. Lustberg at trial or on cross-examination, as well
as in any appellate proceedings or any habeas proceedings.” (Apr. 17, 2024 Tr. 41). Upon the
successful completion of that conference, the Government intends to promptly produce its marked
exhibits, witness list, and 18 U.S.C. § 3500 material, consistent with the Court’s statement at
yesterday’s conference that “given the uncertainty of the trial date, unfortunately, at this point,
there’s no need to turn over the 3500 material, trial exhibits, and witness lists.” (Id. at 42).
      Case 1:23-cr-00490-SHS   Document 336   Filed 04/18/24       Page 2 of 2

Honorable Sidney H. Stein
April 18, 2024
Page 2

                                         Respectfully submitted,

                                         DAMIAN WILLIAMS
                                         United States Attorney

                                    By: _/s______________________________
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cc:   (by ECF)

      Counsel of Record
